 Case: 1:16-cv-08637 Document #: 6905 Filed: 09/28/23 Page 1 of 7 PageID #:610724




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                    No. 16 C 8637
 LITIGATION
                                                    Judge Thomas M. Durkin


                                        ORDER

      In ruling on summary judgment, the Court found that Plaintiffs had shown

that a reasonable jury could find by a preponderance of the evidence that 11 of the 21

defendants joined a conspiracy to limit Broiler supply. 1 During the final pretrial

conference, the Court found that the summary judgment findings as to these 11

defendants satisfied Plaintiffs’ burden to demonstrate by way of proffer the existence

of a conspiracy and that the 11 defendants participated in the conspiracy, such that

statements by employees of those eleven defendants could be admitted as

coconspirator statements under Federal Rule of Evidence 801(d)(2)(E). See R. 6846 at

39-40 (39:24-40:6), 50 (50:22-24) (transcript of hearing Sept. 7, 2023). 2 This ruling is

in accordance with Seventh Circuit precedent regarding Rule 801(d)(2)(E). See United

States v. Davis, 845 F.3d 282, 286 (7th Cir. 2016) (“Under Rule 801(d)(2)(E), co-



1 The eleven defendants are: Harrison; Keystone; Koch; Mountaire; OK Foods; Peco;

Pilgrim’s; Raeford; Sanderson; Simmons; and Tyson.
2 Plaintiffs burden remains to prove these facts at trial sufficient for the Court to

make a similar finding at the close of Plaintiffs’ case. See Davis, 845 F.3d at 286 (“If
at the close of its case the [plaintiff] has not met its burden to show that the
statements are admissible, the defendant can move for a mistrial or to have the
statements stricken.”).
 Case: 1:16-cv-08637 Document #: 6905 Filed: 09/28/23 Page 2 of 7 PageID #:610725




conspirator statements are admissible against a defendant if the trial judge finds by

a preponderance of the evidence that (1) a conspiracy existed, (2) the defendant and

the declarant were involved in the conspiracy, and (3) the statements were made

during and in furtherance of the conspiracy.”). Conversely, the Court found that the

seven    defendants   that   had   been   granted   summary     judgment    were   not

coconspirators. 3

        That leaves three defendants—Amick, George’s, and Mar-Jac—that settled

either prior to or during summary judgment briefing for which the Court never made

a finding. Plaintiffs currently on trial now move the Court for a finding that Amick,

George’s, and Mar-Jac joined the conspiracy for purposes of admitting statements by

employees of these companies as coconspirator statements under Rule 801(d)(2)(E).

Plaintiffs’ motion includes an evidence proffer. The Court has already found in its

summary judgment ruling that Plaintiffs met their burden to demonstrate the

existence of a conspiracy. What is at issue here is whether the proffered evidence is

sufficient to show that Amick, George’s, and Mar-Jac participated in the conspiracy.

A decision on whether statements by Amick, George’s, or Mar-Jac employees were

made during and in furtherance of the conspiracy will take place during trial when

Plaintiffs seek their admission if Defendant objects.

        In opposition to Plaintiffs’ motion, Sanderson—the only defendant on trial—

argues that there is insufficient evidence that Amick, George’s, or Mar-Jac cut Broiler




3 The seven defendants are: Case; Fieldale; Foster; Fries-Claxton; Perdue; Waynek;

and Agri Stats.
                                          2
 Case: 1:16-cv-08637 Document #: 6905 Filed: 09/28/23 Page 3 of 7 PageID #:610726




production during the relevant time periods. Sanderson’s argument is based on the

logic that any producer that did not cut production could not have joined a conspiracy

to cut production. However, as the Court noted in the summary judgment ruling, data

produced by Sanderson’s own expert shows that George’s cut production in 2008-09

and Mar-Jac cut production in 2011-12. See R. 6641 at 20 (citing Levinsohn report R.

6019-1 at 98 (p. 92), 100 (p. 94)). Thus, Sanderson concedes that George’s and Mar-Jac

cut production during the relevant time period.

       Unlike George’s and Mar-Jac, Sanderson’s expert’s charts show increases in

production for Amick. But there is evidence to the contrary. An internal Amick proposal

to change one of its plants from double shift to single shift in 2011 noted that the resulting

production decrease would be an “additional cutback” to a “cutback in place.” See R. 6882-

1 at 3. Additionally in December 2010, Koch received an email (apparently from a

wholesaler) stating that he had learned from Amick that they were cutting production.

See R. 6882-2 at 2. And an internal Peco email noted that Amick had cut production.

See R. 6882-3 at 2.

       Sanderson argues that the Court should discount this evidence because

Sanderson’s expert’s report shows that Amick did not cut production and an Amick

employee testified that they did not inform the wholesaler or Peco that Amick would

be cutting production. But in light of the internal Amick email that can reasonably

be interpreted to state that Amick did in fact cut production, there is sufficient

evidence for a reasonable jury to find by a preponderance of the evidence that Amick

cut production in 2011.



                                              3
 Case: 1:16-cv-08637 Document #: 6905 Filed: 09/28/23 Page 4 of 7 PageID #:610727




      On summary judgment, the Court found that evidence of production cuts, along

with the other economic evidence analyzed by Plaintiffs’ experts, established an

evidentiary foundation tending to indicate the presence of a conspiracy among

Defendants to limit the supply of Broilers. The Court then examined the non-

economic evidence identified by the parties to determine whether for each defendant

there was evidence that the defendant shared confidential information with another

competitor defendant. The Court found that sharing of confidential information with

competitors was sufficient for a reasonable jury to find by a preponderance of the

evidence that the defendant in question joined the conspiracy that was suggested by

the economic evidence.

      Here, there is evidence that Amick, George’s, and Mar-Jac communicated

confidential information with competitor defendants. Amick shared its Agri Stats

“bottom line” report with Koch. The email sharing the report stated the report was

being shared “to figure out who some of these are by comparing,” indicating that the

purpose was to deanonymize reports that were provided with company names

redacted. R. 6228 at 83. The report attached to the email includes handwritten letters

next to each producer line indicating that some effort had been made to identify the

anonymous producers listed in the report.

      Sanderson argues that “bottom line” reports “do not have information on

production numbers, such as the quantity produced or pricing.” R. 6887 at 15. But

the report contains information that is arguably related to production, such as




                                          4
 Case: 1:16-cv-08637 Document #: 6905 Filed: 09/28/23 Page 5 of 7 PageID #:610728




“number of birds,” “live pounds,” “average live weight,” and “avg profit cents/lb,”

among other information. See R. 6882-6 at 3.

      Furthermore, even if the “bottom line” report does not contain information that

would be helpful to monitoring a conspiracy, exchange of the reports would obviously

serve to deanonymize the reports for the two companies exchanging the reports,

because each company’s report identifies the company’s own data. Presumably, the

companies could then use identifiers from the “bottom line” report to identify their

competitor on other Agri Stats reports that contain production information. Learning

the identify of one producer might also help identify the other producers. Such

information would allow Amick and Koch to monitor each other’s production and

facilitate a conspiracy.

      At bottom, the fact is that Amick exchanged a confidential report with a

competitor. Such an exchange is evidence of conspiracy, because so-called competitors

should not exchange such information in a truly competitive environment. This

evidence is bolstered by additional evidence the Amick communicated with

competitors about industry supply and other confidential information. See R. 6236-4

at 330; R. 6882-9 at 2. Combined with the economic evidence indicating the existence

of a conspiracy to reduce Broiler production, Amick’s exchange of confidential

information is sufficient for a reasonable jury to find by a preponderance of the

evidence that Amick joined the conspiracy suggested by the economic evidence.

Therefore, the Court finds that Plaintiffs have met their burden to demonstrate that

Amick is a coconspirator for purposes of Rule 801(d)(2)(E).



                                          5
 Case: 1:16-cv-08637 Document #: 6905 Filed: 09/28/23 Page 6 of 7 PageID #:610729




      According to the testimony of one of its employees, Mar-Jac also shared Agri

Stats reports with its competitors. See R. 6882-20 at 13 (42:2-10); id. at 18 (64:7–

65:21); id. at 64 (247:9-17). That same employee testified that he shared with

competitors other confidential production information, such as “birds per man hour.”

R. 6882-21 at 35 (131:2-23). The Court’s findings with respect to Amick’s sharing of

information apply equally to Mar-Jac’s. Therefore, the Court finds that Plaintiffs

have met their burden to demonstrate that Mar-Jac is a coconspirator for purposes of

Rule 801(d)(2)(E).

      The Court has not been presented with evidence that George’s shared its Agri

Stats reports with competitors. The evidence Plaintiffs rely on to meet their burden

under Rule 801(d)(2)(E) is a January 2008 email from George’s to OK Foods providing

a spreadsheet titled “company stats.” See R. 6242-7 at 212. The spreadsheet appears

to list costs of production, including data headings for “broiler production,” such as

“% liveability,” “average live weight,” and “live cost.” See R. 6887 at 28-29. Defendants

argue that the spreadsheet does not “contain any information about production

volumes, ‘cuts,’ ‘plans’ or any other information that would facilitate a supply

reduction conspiracy,” and contains “only cost and efficiency metrics.” R. 6887 at 23.

But the report’s headings sufficiently indicate the information’s relevance to

production to meet the Plaintiffs’ burden on a proffer under Rule 801(d)(2)(E). And in

any case, the email and sharing of the spreadsheet is evidence that George’s—like

Amick and Mar-Jac—shared confidential company information with a competitor. As

discussed with respect to Amick, because the economic evidence presented at



                                           6
 Case: 1:16-cv-08637 Document #: 6905 Filed: 09/28/23 Page 7 of 7 PageID #:610730




summary judgment indicates the existence of a conspiracy among defendants to limit

supply, evidence that a defendant shared confidential information with a competitor

is evidence from which it can be reasonably inferred that the defendant joined the

conspiracy. Taken together, this evidence is sufficient for a reasonable jury to find by

a preponderance of the evidence that George’s joined the conspiracy already indicated

by the economic evidence. Therefore, the Court finds that Plaintiffs have met their

burden to demonstrate that George’s is a coconspirator for purposes of Rule

801(d)(2)(E).

      For these reasons, Plaintiffs’ “motion to Deem that Amick, George's, and Mar-

Jac Joined the Conspiracy for Purposes of Admissibility of Evidence Against

Defendant Sanderson Farms Under Fed. R. Evid. 801(d)(2)(E)” [6881] is granted

based on Plaintiffs’ proffer. A finding as to Amick, George’s, and Mar-Jac, along with

the other 11 companies denied summary judgment, will be made at the close of

Plaintiffs’ case if the proffered evidence was in fact introduced. Plaintiffs are

responsible for making the request for that finding.

                                                       ENTERED:


                                                       ______________________________
                                                       Honorable Thomas M. Durkin
                                                       United States District Judge
Dated: September 28, 2023




                                           7
